                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      No. 2:07-CR-13
                                                    )
JERRI MARLENE RADER                                 )


                                          ORDER

     This supervised release revocation matter came before the Court on November 17, 2008, for

a hearing in regard to whether or not the defendant had violated the conditions of her supervised

release. At the hearing, the defendant contested that she had violated standard condition

number three, which required her to follow the instructions of her probation officer.

The defendant also contested that she had violated a special condition of her release,

which required her to reside at Midway Rehabilitation Center (Midway) for nine

months and abide by the rules of the facility.             After hearing the testimony of

witnesses, this Court found that the defendant violated both conditions of her release.

The defendant failed to report immediately to her probation officer when instructed

to do so and was discharged from Midway as a result of her violation of the rules of

the facility. On August 26, 2008, while at Midway, the defendant was found in a male

resident’s quarters having bodily contact with him. The defendant was

administratively discharged from Midway on August 27, 2008. After she was discharged,



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her probation officer told her to report on August 27, 2008. The defendant had no contact with her

probation officer until August 29, 2008.

        The Court has carefully considered the policy statements of Chapter 7 of the United States

Sentencing Commission Guidelines which reflect a revocation range of five (5) to eleven (11)

months imprisonment. Because the policy statements of Chapter 7 of the U.S.S.G. are policy

statements and not guidelines, and although the Court must consider these policy statements, the

Court is not bound by them. United States v. West, 59 F.3d 32 (6th Cir. l995).

        Based upon the defendant’s grade C violations, which were proved by a preponderance of

the evidence, and the defendant’s prior history violation of terms of release, the Court finds a

sentence within the suggested range is appropriate. Therefore, the Court finds that the defendant

has violated the terms of her supervised release. Accordingly, it is hereby ORDERED that her

supervised release is REVOKED, and she is sentenced to a term of imprisonment of nine (9)

months. It is further ORDERED that upon release from imprisonment, the defendant shall be

placed on supervised release for a term of 27 months, and within 72 hours of release, the defendant

shall report in person to a probation office in the district to which she is released. In addition, it is

ORDERED that while on supervised release the defendant:

                1) shall not commit another Federal, state, or local crime;

                2) shall comply with the standard conditions that have been adopted
                by this Court in Local Rule 83.10;

                3) shall not illegally possess a controlled substance; and

                4) shall not possess a firearm as defined in 18 U.S.C. § 921.

In addition, it is further ORDERED that the defendant shall comply with the following special

conditions of supervised release:

                                                   2


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           1) She shall reside at a halfway house to be identified by the
           probation officer for a period of six (6) months and shall abide by all
           rules of the facility.

           2) As previously ordered, she shall pay, jointly and severally with
           Richard Walters, restitution to KVAT Food Stores in the amount of
           $1,726.42, Ingles Grocery Store in the amount of $1,080.72, White’s
           Fresh Foods in the amount of $1,277.48, and One Stop Market in the
           amount of $491.22. The government may enforce the full amount of
           restitution ordered at any time pursuant to Title 18, U.S.C., §§ 3612,
           3613, and 3664(m).

           3) Any portion of the joint and several restitution that is not paid in
           full at the time of defendant’s release from imprisonment shall
           become a condition of supervision. Any balance toward the
           restitution which remains unpaid at the time of commencement of
           supervised release shall be paid in monthly installments, at the rate
           of at least 10 percent of defendant’s monthly gross income. Interest
           is waived on the restitution.

           4) As previously ordered, defendant shall pay the special assessment
           of $100.

           5) Defendant shall provide the probation officer with access to any
           requested financial information.

           6) Defendant shall not incur new credit charges or open additional
           lines of credit without permission of the probation officer until the
           $4,575.84 has been paid in full.

           7) Defendant shall participate in a program of testing and treatment
           for drug and/or alcohol abuse, as directed by the probation officer,
           until such time as defendant is released from the program by the
           probation officer.

           8) Defendant shall participate in a program of mental health
           treatment, as directed by the probation officer, until such time as
           defendant is released from the program by the probation officer.
           Defendant shall waive all rights to confidentiality regarding mental
           health treatment in order to allow release of information to the
           supervising United States Probation Officer and to authorize open
           communication between the probation officer and the mental health
           treatment provider.


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             9) Defendant shall obtain her general education developmental
             degree.

             10) Defendant shall refrain from the use of alcohol.

             11) Defendant shall complete the balance of the 150 hours of
             community service previously ordered and shall complete an
             additional 150 hours of community service work.

             12) Defendant shall not possess a firearm, destructive device, or any
             other dangerous weapon.

             13) Defendant shall cooperate with the collection of DNA as
             directed.

The Court also RECOMMENDS as follows:

                   1) That the defendant be given credit for time served since
             October 8, 2008; and

                   2) That she be designated to the federal facility at Alderson,
             West Virginia, for the service of her sentence.

      The defendant is remanded to the custody of the United States Marshal.

It is so ORDERED.

             ENTER:

                                                         s/J. RONNIE GREER
                                                     UNITED STATES DISTRICT JUDGE




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